Dr. Arthur L. Mallory Commissioner of Education State Department of Elementary and Secondary Education Jefferson State Office Building Jefferson City, Missouri 65101
Dear Dr. Mallory:
In accordance with your request of April 26, 1976, we have reviewed the Missouri State Department of Elementary and Secondary Education's "Title I, ESEA, Annual Program Plan, Fiscal Year Ending September 30, 1977." This application for federal funds is being submitted under Title I of the Elementary and Secondary Education Act of 1965, P.L. 89-10, as amended.
In addition to the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto (45 C.F.R. 116, October 1, 1975 edition), our review has taken into consideration Article III, Section 38(a), Missouri Constitution, and Section 161.092, RSMo 1973 Supp.
Based on the foregoing, we hereby certify that the Missouri State Department of Elementary and Secondary Education has authority under state law to perform the duties and functions of a state educational agency under Title I of the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto, including those arising from the assurances set forth in the application.
In addition to this opinion letter which constitutes our official certification, we have executed the form of certification attached to the Annual Program Plan.
Very truly yours,
                                  JOHN C. DANFORTH Attorney General